        Case 3:17-mj-04744-WVG Document 13 Filed 12/19/17 PageID.18 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7                           UNITED STATES DISTRICT COURT
 8                       SOUTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                   Case No. 17MJ4744-NLS
11
                        Plaintiff,               FINDINGS OF FACT AND ORDER
12                                               RE W AIYER OF DETENTION
                        V.                       PENDING TRIAL
13
14   ALEXIS OCEGUEDA ( 1),
15
                        Defendant
16
17
18         In accordance with the Bail Reform Act of 1984, 18 U.S.C. §3142(f), a
19   detention hearing was scheduled for DECEMBER 19, 2017, to determine whether
20   ALEXIS OCEGUEDA (the "Defendant") shall be held in custody without bail
21   pending trial and, if convicted, sentencing in the above-captioned matter.
22         At the hearing on DECEMBER 19, 2017, the Defendant knowingly and
23   voluntarily waived all rights, on the record and through counsel, to the setting of bail
24   and the detention hearing. Based on that waiver, the Court orders that Defendant be
25   detained pending trial because he is a serious flight risk and, if convicted, sentencing
26   in these matters, without prejudice or waiver of the Defendant's right to later apply for
27   bail and conditions of release, and without prejudice or waiver of the right of the
28
                                                -1-
       Case 3:17-mj-04744-WVG Document 13 Filed 12/19/17 PageID.19 Page 2 of 2


 1 United States to seek detention in the event of an application by Defendant for such
 2   relief.
 3                                             ORDER
 4             IT IS HEREBY ORDERED that Defendant be detained pending trial and, if
 5   convicted, sentencing in these matters.
 6             IT IS FURTHER ORDERED that Defendant be committed to the custody of
 7   the Attorney General or their designated representative for confinement in a
 8   corrections facility separate, to the extent practicable, from persons awaiting or
 9   service sentence or being held pending appeal. The Defendant shall be afforded
10   reasonable opportunity for private consultation with counsel.
11             While in custody, upon order of a court of the United States or upon the request
12   of an attorney for the United States, the person in charge of the correctional facility
13   shall deliver the Defendant to the United States Marshal for the purpose of an
14   appearance in connection with a court proceeding or any other appearance stipulated
15   by defense and government counsel.
16             This order is made without prejudice to modification by this Court and without
17   prejudice to the Defendant's exercise of the right to bail and a detention hearing at a
18   future date.
19

20             IT IS SO ORDERED.
21
22
23
               DATED:      /)./)D/17           HONORABLE WILLIAM V. GALLO
                                               UNITED STATES MAGISTRATE JUDGE
24

25
26
27
28

                                                  -2-
